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                     Exhibit D
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


NATIONAL COUNCIL OF
NONPROFITS,
1001 G Street NW, Suite 700 East
Washington, D.C. 20001,

AMERICAN PUBLIC HEALTH
ASSOCIATION,
800 I Street NW
Washington, D.C. 20001,

MAIN STREET ALLIANCE,
909 Rose Avenue
North Bethesda, MD 20852,

and

SAGE,
305 7th Avenue 15th Floor
New York, N.Y. 10001,


Plaintiffs,                                 Case No.

v.

OFFICE OF MANAGEMENT &                      Declaration of Shawn Phetteplace,
BUDGET,                                     Main Street Alliance
725 17th Street, N.W.
Washington, D.C. 20503,

and

MATTHEW VAETH, in his official
capacity as Acting Director, Office of
Management and Budget
725 17th Street, N.W.
Washington, D.C. 20503,

Defendants.

                     DECLARATION OF SHAWN PHETTEPLACE
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I, Shawn Phetteplace, declare as follows:


   1. I am the national campaigns director of the Main Street Alliance (“MSA”). I have held

       that position since 2023 and been on staff with MSA since 2020. In my role as national

       campaigns director, I work closely with MSA’s small business members. This declaration

       is based on my firsthand knowledge of the facts as stated here.

   2. MSA is a national network of small businesses, which represents approximately 30,000

       small businesses across the United States. MSA helps small business owners realize their

       full potential as leaders for a just future that prioritizes good jobs, equity, and community

       through organizing, research, and policy advocacy on behalf of small businesses. MSA

       also seeks to amplify the voices of its small business membership by sharing their

       experiences with the aim of creating an economy where all small business owners have

       an equal opportunity to succeed.

   3. MSA’s small business members compete for and receive various forms of what is

       broadly defined as “federal financial assistance,” including funding in the form of grants,

       loans, and loan guarantees. Members also benefit directly from other recipients of federal

       financial assistance being able to purchase goods and services from them as a result of

       federal programs.

   4. As just one example, members who operate child care centers rely on the Child Care &

       Development Block Grant program administered by the Office of Child Care within the

       Department of Health and Human Services. That program is the primary federal funding

       source to help families with low incomes access child care. Indefinitely halting payments

       under that program will have a direct and severe impact on MSA members and other




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   small businesses engaged in offering child care services, and whose customers will no

   longer be able to pay for those services absent the grant program.

5. Likewise, the Small Business Administration administers a loan program under Section

   7(a) of the Small Business Act that provides “SBA-guaranteed loans to small businesses

   that lack adequate access to capital on reasonable terms and conditions.” MSA members

   rely on this and similar federal loan programs to build and expand their small businesses.

   The continued availability of these funds—and the disbursement of loan proceeds that

   have already been committed—is vital for the continued financial well being of MSA’s

   members and other small businesses.

6. The memorandum issued by the Office of Management and Budget on January 27, 2025

   and titled “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance

   Programs” directs all federal agencies to immediately cease obligation or disbursement of

   funds through any federal financial assistance program.

7. The effect of such a pause would have immediate and devastating financial consequences

   for MSA’s members. Particularly where funds have already been committed, but are now

   being withheld as a result of OMB’s action, small businesses would be thrown into chaos.

   The direct and obvious result would be substantial harm to their bottom lines and even, in

   some cases, to the business being shuttered.

8. The Memo harms MSA’s members in other ways, as well. It makes clear that continued

   receipt of federal financial assistance will hinge on what position small business owners

   take on politically charged issues such as gender and environmental policy. Conditioning

   aid to small businesses on the recipient adopting the administration’s policy views will




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       lead MSA members and others to feel they have no choice but to suppress their views on

       these issues.




January 28, 2025                                  _______________________

                                                  Shawn Phetteplace




                                              4
